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   1
       Emily Roe
   2   28241 Crown Valley Pkwy, Suite F228
       Laguna Niguel, CA 92677
   3                                                             T :.
       Telephone (949)542-6354
   4   Email Orange20202@hotmail.com
       Attorneys for Relator
   5

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   7
                                             UNITED STATES DISTRICT COURT
   8
                                    FOR THE DISTRICT OF SOUTHERN CALIFORNIA
   9

  10

  11   UNITED STATES OF AMERICA ex. rel.                         CASE N~ V 1 ~ +• Q
                                                                                    V ~~                           ~~   ~(~~~K'
       Emily Roe, an individual,                                                                                             J

  12                                                             FILED IN CAMERA UNDER SEAL
       THE STATE OF CALIFORNIA ex. Yel. Emily
  13   Roe., an individual,
                      Plaintiffs,                                JURY TRIAL DEMANDED
  14
              vs.
  l5    STANFORD         HEALTHCARE       BILLING                COMPLAINT          FOR        DAMAGE
        OFFICE, STANFORD HEALTH CARE                             PURSUANT TO CiVTL FALSE CLAIM
  16   (FORMERLY KNOWN AS STANFORD                               ACT, 31 U.S.C. §§ 3729-33 ("FCA"); "Qi
        HOSPITALS         AND      CLINICS),  DR.                TAM ACTION."
  17    FREDERICK DIRBAS, THE BOARD OF
        DIRECTORS OF THE STANFORD HEALTH
  18
        CARE, THE BOARD OF DIRECTORS OF
  19    THE      LUCILE       SALTER     PACKARD                 Complaint Filed: November 27, 2017
        CHILDREN'S HOSPITAL AT STANFORD,
  20    THE LELAND JUNIOR UNIVERSITY, THE
       BOARD OF TRUSTEEES OF ST
  21    UNIVERSITY, AND DOES 1- ~(~                              ~.
                          Defendants.                                                   ~. : ~,      ~~
  22

 23

 24                                                     er ., s District cou~M
                                                            COl1RT46~?_      ~ ~

 25         INTRODUCTION AND FACTS COMMON TO CAUSES OF ACTION AND

 26                                               PLAINTIFFS

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                                                         - G -

 20        COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~ 3729(a))
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        1. This is an action brought on behalf of Plaintiffs, the United States of America and the State of

   21      California, (herein" Plaintiffs") against Defendants pursuant to the Qui Tam provisions of the
           Civil False Claims Act, 31 U.S.C. § 3729-33 ("FCA") and California Insurance Frauds
   3
           Prevention Act(Section 1871.4 of the Insurance Code,jointly referred to herein as the "Qui Tam
   4
            Action."
   5
        2. Plaintiff-Relator Emily Roe by and through its undersigned, oi~ behalf of the United States of
   6       America, alleges as follows for its Complaint against Defendants collectively "STANFORD"
   7       which comprise of STANFORD HEALTH CARE (HEREIN "STANFORD" OR"SHC"), THE

   8       BOARD OF DIRECTORS OF THE STANFORD HEALTH CARE, DR. FREDERICK
           DIRBAS, MD (HEREIN "DIRBAS"), THE BOARD OF DIRECTORS OF THE LUCILE
   9
           SALTER PACKARD CHILDREN'S HOSPITAL AT STANFORD, AND THE BOARD OF
  10
           TRUSTEES OF LELAND JUNIOR UNIVERSITY, and Does 1-50                                based upon personal
  11
           knowledge and relevant documents. As a direct, proximate and foreseeable result of Defendants'
  12       fraudulent course of conduct set forth herein, and conducted as standard operating practice on a
  ]3       large scale, STANFORD           knowingly submitted, and Defendants caused to be submitted,

  14       thousands of false or fraudulent statements, records, and Claims to Medicare seeking

  l5       reimbursement for health care services from at least 2010 through the present.
        3. The practices complained of herein are continuing. As detailed below, the Defendants' actions j
  16
           and omissions have caused many years of improper and false billings to the United States through
  17
           the Medicare program, and the State of California through non-Medicare programs.
  18
        4. As of 2016 STANFORD has nearly doubled its Medicare net revenue from 2012. Whereas in
  19
           2012 STANFORD received $460.4 million in Federal funds from the Medicare Program, in the
  20       most recent year (2016), STANFORD received $755.7 milliotl in Federal funds from the
  21       Medicare Program accounting for a remarkable 39% four year increase.

  22 5. Although STANFORD has nearly doubled its Medicare 1-evenues in the four year period from

  23       2012 to 2016, STANFORD has not doubled its staff, bed count, facilities, or services in that time
           period to substantiate this increase in enrichment.
  24
        6. STANFORD executives and department managers are known to push aggressive billing and
 25
           maintain a culture of pushing profits at any cost. STANFORD general counsel and Vice
 26

 27
                                                            - ~-
 28           COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~ 3729(x))
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   1         President Ms. Debra Zumalt is known to harbor a general proclivity to turn a blind eye and

   2         suppress reports of improper billing allegations, as was done in this case.
        7. STANFORD Hospital and Clinics located in Santa Clara County is one of the top three illost
   3
             profitable hospitals in the U.S. by patient-service surplus. In 2013, patient care surplus at
   4
             STANFORD was $224,661,648, and surplus per adjusted discharge was $1,339.49.
   5
        8.    In the most recent year (2016), STANFORD received a total of net patient service revenue of
   6         $3,893,005,000 and $3,393,413,000 in the prior year (2015). On average STANFORD receives
   7         1 /3 of its Gross Patient Service revenue from Medicare.

   8 9. Of tl~e total $3,893,005,000 funds collected by STANFORD in 2016, 34% of funds were from
             Medicare, 4% are from Medi-Cal, 55% from Managed care- "Discount Fee for Services", and
   9
             7% Self-Pay or Indemnity.
  10
        1 0. At the end of the fiscal year in August 3] STANFORD has account receivables of 12% from
  1l
             Medicare, 18°/o from Blue cross, and 11%from Blue Shield. SHC did not believe significant ci-cdit
  12         risks exist with these three payers.
  13    1 1. STANFORD reported that SHC's Medicare cost reports have been audited by the Medicare
  l4'        administrative contractor through August 31, 2006.

  15    1 2. More significantly, the STANFORD schemes that have resulted in false billings to Medicare and
             the State that began in at least 2010, and most likely earlier, as alleged more specifically infra,
  16
             include but are not limited to the following:
  17
        •        upcoding patients' office visits to artificially inflate the base Medicare reimbursement paid for
  18
        professional medical services by STANFORD physicians and health care providers;
  19 •           artificially unbundlin~~re-operative visit and inflating the global fees paid through
  20 surgical services rendered to patients to qualify for high adjustment payments of 10-20%greater funds

 21     per sur gical procedure;
        •        fraudulent and false patient pre-operative evaluations scheduled on the day or days before
 22
        sur~ery and unbundled to reflect a distinct and separate evaluation and mana~einent service; and
 23
             • failing to mitigate or cease the conduct once put oi~ notice and demanded to cease unlawful
 24
                 billing.
 25     13. Further, Defendants STANFORD conspired to violate the False Claims Act by causing the
 26          submissions of false or fraudulent claims, conspired to make and use, or cause to be made or used,

 27          false records material to false or fraudulent claims, and once put on notice of the unlawful billing,
                                                             - 4-
 28             COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC § 3729(x))
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   1         conspired to not return Medicare and non-Medicare overpayments from being returned to the

   2         government, and respective carriers.
          14. As a result, Medicare overbillings by STANFORD revealed in an audit certification conducted
   3
             by Plaintiffs was covered up and the billing schemes in place at STANFORD that resulted in the
   4
             false billings identified by Plaintiffs continued unabated, resulting in additional false or fraudulent
   5
             claims to Medicare.
   6     15. By these actions and the other actions detailed herein, the Defendants have violated several laws,
   7         including without limitation, the Federal and State False Claim Statutes.

   8     1 6. Defendants' fraudulent conduct has had a dramatic negative financial impact on Medicare and the
             government. According to the company's own public filings, STANFORD holds itself as a U.S.
   9
            "Non-Profit" or not-for profit("NFP") Foundation.
  10

  11                                                  DEFENDANTS

  12
         '~ 17. STANFORD Health Care ("SHC") is anon-profit, California corporation. It is atax-exempt
  13         institution under section 501(c)(3) of the lnternal Revenue Code. Its governing board is The Board
  14         of Directors of STANFORD Health Care.
  l5     l 8. The Centers for Medicare (herein "CMS") and Federal health care programs utilize the National

  16         Provider Identifier (herein "NPI"). NPI's are assigned to institutions as well as individual health ~
             care providers. Billing CMS requires utilization of both the institution's NPI and the individual
  17
             rendering providers.
  18
         l 9. NPI 1437292927 is registered to STANFORD HEALTH CARE located at 300 Pasteur Drive
  19
             STANFORD, California 94305.
  20 20. NPI Number 1437292927 has the "Organization" type of ownership and has been registered to

  21         the following primary business legal name (which is a provider name or healthcare organization

 22         name)-STANFORD HEALTH CARE . The enumeration date ofthis NPI Number is 02/14/2007.
             NPI Number information was last updated at 03/07/2017.
 23
         21. Provider's other registered legal business name is STANFORD HOSPITAL AND CLINICS.
 24
         22. Defendants' main business address where it receives payments for medical services is in Los
 25
             Angeles, California. Stanford Billing Office receives all by mail payments and checks at the
 26 '~       Address of P.O. Box 740715 Los Angeles, CA 90074-0715. The insurance carrier as well as
 27
                                                            - 5-
 28            COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC § 3729(x))
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   1 '       Relator also submitted payments to the main billing company address in the Central District.

   2         Exh. N accessed Nov. 26, 2017 at
             https:Ustanfordhealthcare.org/content/dam/SHC/patientsandvisitors/billing/images/shc-billing-
   3
            statement-summary-2016.jpg)
   4
         23. STANFORD as a registered medical service provider is registered as physically located (Business
   5
            Practice Location) at: 300 PASTEUR DRIVE STANFORD , CA 94305. The provider can be
   6        reached at his practice location using the following numbers: Phone 650-723-4000 and Fax 650-
   7        .•• :~1

   8 24. The provider's official mailing address is:             1804 EMBARCADERO ROAD , SUITE 100
            STANFORD , CA 94305-3341 US The contact numbers associated with the mailing address are:
   9
            Phone 650-723-4000           Fax 650-498-5840 The authorized official registered with the
  10
            "1437292927" NPI Number is MR.DAVID J. CONNOR. The authorized official title (position)
  11
            is CHIEF FINANCIAL OFFICER. He can be reached as the authorized official at the following
  12        phone number 650-497-0391.
  13 25.        NPI 1154457091 is registered to Dr. FREDERICK DIRBAS MD located at located at 300

  14        Pasteur Drive STANFORD, California 94305.

  1 5 26.       CMS also uses a PTAN number for provider billing. A PTAN is a Medicare-only number
            issued to providers by Medicare Administrative Contractors (MACS) upon enrollment to
  16
            Medicare.
  17
         27. Lucile Salter Packard Children's Hospital ("LPCH") at STANFORD is a nonprofit, California
  18
            corporation. It is atax-exempt institution under section 501(c)(3) of the Internal Revenue Code.
  l9        Its governing board is The Board of Directors of the Lucile Salter Packard Children's Hospital at
  20        STANFORD.

  21     28. The two hospitals are legal corporations separate from the University and from each other.
            STANFORD also owns and operates multiple other satellite hospitals and facilities including
  22
            STANFORD Outpatient Clinics and Surgery at Redwood City.
  23
         29. STANFORD Medicine is a term that encompasses all of the healthcare entities, including both
  24
            hospitals and their foundations and the School of Medicine. It replaces the teen "STANFORD
  25        University Medical Center." STANFORD Medicine and STANFORD University Medical Center
  26        are not legal entities.

 27
                                                             -~-
 28            COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (3 I USC § 3729(a))
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   1   30. Professional services are reimbursed based on a fee schedule in Federal funds from the Medicare

   2       Program. Medicare payments accounted for a significant percentage of STANFORD'S net service
           revenues, second only to Blue Cross.
   3
       31. STANFORD recognized additional fees for its hospital services. SHC recognized $55,195,000
   4
           and $103,667,000 in net patient service revenue under these programs and $45,809,000 and
   5
           X73,585,000 in other expense for California Hospital Quality Assurance Fee Program (herein
   6      "HQAF") to the California Department of Health Care Services for the years ended August 31,
   7       2016 and 2015, respectively.

   8 32. The State of Califon7ia enacted legislation in 2009 which established a Hospital Quality
           Assurance Fee ("HQAF") Program and a Hospital Fee Program. These programs imposed a
   9
           provider fee on certain California general acute care hospitals that, combined with federal
  10
           matching funds, would be used to provide supplemental payments to certain hospitals and support
  11
           the State's effort to maintain health care coverage for children. The effective period of this
  12      Hospital Fee Program was April 1, 2009 through December 31, 2010.
  1 3 33. In tl~e most recent year (2016), STANFORD received $755,658,000 in Federal funds from the

  14       Medicare Program. This Net Patient Service Revenue is a net of contractual allowances (but

  15      before provision for doubtful accounts), by major payor for the years ended August 31, 2016.
       34. In the prior year(2015), STANFORD received $732,377,000 in Federal funds from the Medicare
  16
          Program. Medicare payments accounted for a large percentage of STANFORD'S net service
  17
          revenues. In the prior years (2013), STANFORD received $519,403,000 in Federal funds from
  18
          the Medicare Program. Medicare payments accounted for a large percentage of STANFORD'S
  19      net service revenues.
  20 35. In the preceding year (2012) STANFORD received $460,442,000 in Federal funds from the

  21      Medicare Program.
       36. Plaintiffs estimate that damages caused to the Medicare program by Defendants' violations of the
  22
          FCA exceed half a billion dollars cumulatively as of the date the original complaint was filed.
  23
       37. STANFORD is a California Entity, and venue is proper under the Central District Court.
  24
       38. STANFORD receives some walk-in payments at its BILLING OFFICE LOCATION, 4700
  25      BOHANNON DRIVE, 2nd floor MENLO PARK CA 94025.
  26 39. STANFORD conducts business and receives significant enrichment through its billing entity

  27      address at P.O. box 743447 in LOS ANGELES, CA 90074-3447.
                                                        - 7-
  28         COMPLAWTUnited States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~ 3729(a))
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    1   40. STANFORD has numerous satellite offices and hospitals including

   2       • Patient Financial Services, Valley Memorial Center 1111 E. Stanley Blvd. Livermore, CA
                94550, Telephone 925.264.6500, Email: billing_ValleyCare@STANFORDhealthcare.org
   3
                STANFORD Medicine Outpatient Center and STANFORD Medicine Redwood City; 450
   4
                Broadway, Redwood City, CA 94063. Phone:(650)721-7332
   5
           •     Stanford Health Care Advantage which received Federal Medicare funds and administrates
   6
                a Medicare Advantage plan - PO Box 72530, Oakland, CA 94612-8730
   7

   8                                        JURISDICTION AND VENUE

   9 1 41. This District Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. ~
            1 331, 28 U.S.C. § 1367 and 31 U.S.C. § 3732, the last of which specifically confers jurisdiction
  10
            on this Court for actions brought pursuant to 31 U.S.C. ~§ 3729 and 3730. Under 31 U.S.C.
  11
           §3730(e)(4)(A), there has been no statutorily relevant public disclosure of substantially the same
  12
           "allegations or transactions" alleged in this Complaint.
  13 42. Even to the extent there has been any such public disclosure, Plaintiff meets the definition of an

  14       original source, as that term is defined under 3l U.S.C. § 3730(e)(4)(B). Specifically, Plaintiff

  15        voluntarily disclosed to the Government the information upon which allegations or transactions

  16       at issue in this complaint are based prior to any purported public disclosure under 31 U.S.C. §~
           3730(e)(4)(A).
  17
        43. Altenlatively, Relator has knowledge that is independent of and materially adds to any purparted
  18
           publicly disclosed allegations or transactions, and, Relator voluntarily provided the informatio»
  19       to the Government before filing its complaint. Relatar therefore qualifies as an "original source"
  20       of the allegations in this Complaint such that the so-called public disclosure bar set forth at 31
  21       U.S.C.       § 3730(e)(4) is inapplicable.

  22 44. Relator concun-ently served upon the Attorney General of the United States, the United States j
         Attorney for the District of California, and the State of California the original complaint and a
  23
         written disclosure summarizing the known material evidence and information in the possession
  24 '~
         of Plaintiff related to the original Complaint, in accordance with the provisions of 31 U.S.C.
  25
         §3730(b)(2). The disclosure statement is supported by material evidence, and documentary
  26       evidence has been produced with the disclosure. The documents referenced in the disclosw~e
  27
                                                          - 8-
 28            COMPLAWTUnited States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC § 3729(a))
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   1      statement, and those produced in connection therewith or subsequently, are incorporated herein

   2      by reference.
       45. Plaintiff shall serve upon the Attorney General of the United States, United States Attorney for
   3
          the District of California, the Attorney General for the State of California, and the Califot-nia
   4
          Insurance Commissioner a copy of this Complaint and any amended complaints.
   5
       46. This Court has personal jurisdiction and venue over the Defendants pursuant to 28 U.S.C. §§
   6       1 391(b) and 31 U.S.C. § 3732(a) because those sections authorize nationwide service of process
   7      and because each Defendant has minimum contacts with the United States. Moreover, Defendants

   8      can be found in, reside, and/or transact business in this District.
       47. Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) because Defendants collect a
   9
          significant portion oftheir enrichment at the billing address in Los Angeles. Thus, each Defendant
  10
          transacts business in this judicial district, and acts proscribed by 31 U.S.C. § 3729 have been
  1l
          committed by Defendants in this District. Therefore, venue is proper within the meaning of 28
  12      U.S.C. §1391(b) and (c) and 31 U.S.C. § 3732(a).
  l3

  14 ~ PARTIES
                           in interest( "Plaintiffs") to the False Claim Act(herein"FCA") Q~ii Tam claims
  1 5 48. The real parties
          herein are the United States of America and the State of Califon~ia. Accordingly, at this time,
  16
          Relator is pursuing its cause of action on behalf of tl~e United States on the FCA Qui Tam claims
  17
          set forth herein. See, e.g., 31 U.S.C. § 3730(b)(1), and the State of California pursuant to the
  18
          California Insurance Frauds Prevention Act and Section 1871.4 of the Insurance Code.
  1 9 49. Relator Emily Roe is an individual. Relator brings this Qui Tam action based upon direct and

  20      unique information obtained about Defendants, or those with whom the Defendants conduct

  21      business. The identity of these individuals has been provided in the pre-filing Disclosure
          Statements) produced to the United States pursuant to the Federal FCA, and to the State.
  22
       50. Defendant STANFORD is a U.S. Internal Revenue Code designated Non-Profit Foundation based
  23
          in California. STANFORD currently provides healthcare services to patients in California,
  24
          and does so to patients locally as well as nationwide from the United States.
  25 51. STANFORD provides and bills for health services throughout Southern California through its

  26      telemedicine portals. For example, according to advisory.com STANFORD Medicine Clinic

  27      provided in 2015 60% of its visits as "virtual visits", 23% of which were video visits and 37%
                                                          - 9-
  28         COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (3l USC § 3729(a))
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          were video visits. Only 40% of STANFORD's 2015 visits of more than 6500 visits were " in-
          person visits". Thus STANFORD renders medical services through California as well as other
          states, making venue of Southern California proper.
       52. As of 2016 STANFORD has nearly doubled its Medicare net revenue from 2012. Whereas in
          2012 STANFORD received $460.4 million in Federal funds from the Medicare Program, in the
          most recent year (2016), STANFORD received $755.7 million in Federal funds from the
          Medicare Program accounting for a remarkable 39 %increase over' four year.
   7 53. Of this tremendous increase in enrichment through Medicare payments, several tens of millions

   8      of dollars are likely profited as a result of what is believed with certainty be a wide spread practice
          institution-wide at STANFORD ofover-billing via the schemes described earlier.
   9
       54. STANFORD executives and department managers are known to push aggressive billing and
  10
          imaintain a culture of pushing profits at any cost.
  11
       55. Although STANFORD has nearly doubled its Medicare revenues in the four year period from
  12      2012 to 2016, STANFORD has not doubled its staff, bed count, facilities, or services in that time
  l3      period to substantiate this increase in enrichment.

  14 56. STANFORD executives with knowledge of the fraudulent billing activities alleged herein include

  l5      General Counsel and Vice president Ms. Debra Zumwalt, STANFORD retained counsel Ms.
          Carolyn Northrup and Ms. Daniella Stoutenburg, and STANFORD University faculty and
  16
          professor Dr. Frederick Dirbas.
  17

  18
             RELATOR
  19 57. Relator is a trained and certified professional medical coder and biller, as certified by the

  20      American Academy of Professional Coders (herein "AAPC"). As such, Relator has specialized

  21      training and expertise in coding guidelines and an auditor for insurance billing.
       58. Relator is a U.S. Board certified physician and surgeon, licensed by the Medical Board of
  22
          Califon~ia in excellent standing. Relator is an appointed expert for the California Deparh-nent of
  23
          Consumer Affairs, and is a cun-ent and thrice appointed expert for the California Board of Medical
  24
          Quality Assurance. In the capacity as a designated expert, Relator has been retained as an expert
  25      and testified on behalf of the State and the Califonlia Department of Consumer Affairs in matters
  26      involving medical coding.

  27
                                                          - 10 -
  28         COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~ 3729(a))
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    1   59. In December 2012 Relator underwent a major surgery at STANFORD Hospitals and Clinics with

    2      Dr. Frederick Dirbas of the Department of Surgery.
        60. In November of 2016 while auditing the chart and billing records for that service, Relator learned
    3
           that on the date of service 12/11/12 STANFORD unbundled and billed for apre-operative visit
    4
           although it should have been not chargeable. As a result if its unbundled billing, STANFORD
    5
           received unjust enrichment for CPT code "99215","comprehensive patient exam" as part of the
    6      pre-operative fee before a double mastectomy CPT code "19304".
    7
    . 61. On the day before the surgery (pre-op) was unbundled as an "unrelated" high comprehensive

    8      office visit and essentially up-coded for $494. STANFORD codes the visit as a " 99215" .

    9      STANFORD collected unjust enrichment of $341 in combination from the Relator and her
           insurance carrier.
   ]0
        62. A Physician Assistant("PA-C")named Candice Schultz,PA NPI Number: 1881725638 provided
   11
           the entirety of the pre-operative office visit service to Relator on 12/11/12. Not only was the
   12      unbundled billing fraudulent on its own basis, but also the PA did not bill the service under her
   13      own NPI number. Had the PA billed the service correctly under her own NPI, the reimbui-se~nent
   14      was reduced by 15-20% fora "mid level provider".

   15 63. According to the site https://data.cros.gov/utilization-and-payment-explorer, Physician Assistant
        ("PA-C")named Candice Schultz,PA NPI Number: 1881725638 billed a total of only 12 services
   16
          to CMS for a grand total of $195.
   17

   18
           The screenshot below accessed in October 2017 reflects the billings of Ms. Schults on behalf of
   ]9      STANFORD.
   20

   21

   22

   23

   24

   25

   26

   27
                                                           -~~-
   28         COMPLAfNT United States cx. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC § 3729(x))
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              Data.CM3.gov                                                                                              mr     n
    2

    3                                  CANdICE SGHULTZ
                                               _     ;;>
    4                                          _,'~A``


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                                       E..                           ,_ ~ ; ~~~,: -,~h;,~~
    8
                                             92             12          ~3Y.50           $24.bo     $~~3.35
    9

   10                                                                     ~     -
   11

   12

   13
         64. Had STANFORD billed correctly, the correct coding fora "global surgery fee" with the global
   14
             codes would not lave resulted in any extra enrichment for the pre-op visit.
   15
         65. On information and belief that STANFORD'S Department of Surgery had a custom and practice
   16
            ofsimilar unbundled billing ofpre-operative visits, for federally funded patients, Relator obtained
   17        billing and payment data for multiple surgery providers in the STANFORD Department of ~,
   18       Surgery. The reports reflected dates of service from 2010 throl~gh 2016.

   1 9 66. Relator requested the reports in November 20l 6 but did not receive all of the full reports until on
            or about June 2017.
   20
         67. On or about March 9, 2017 Relator contacted STANFORD billing managers to discuss billing
   21
            noncompliance issues.
   22
         68. On March 14, 2017 Relator emailed Dr. Dirbas the list of improper codes and billings.
   23 69. On March 15, 2017 Relator notified STANFORD counsel Ms. Stoutenburg and Ms. Nortlu-up, as

   24       well as Defendant Dr. Dirbas of the Medicare and non-Medicare billing noncompliance.

  25 70. On September 8, 2017 Relator directly notified                                       Ms. Debra Zumwalt, General Counsel to
            STANFORD vis-a-vis electronic communication at zumwalt@STANFORD.edu of her
   26
            institutions'    non-Medicare and Medicare billing claims non-compliance.                                              Ms. Zumwalt
  27
                                                                              - ~~-
  28           COMPLAINT United States ex. relaror Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~ 3729(a))
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              confirmed receipt of Relator's communication but declined to intervene or respond to the billing
    2 ~~      discrepancies.
           71. On September 10, 2017 Relator again notified             Ms. Debra Zumwalt, General Counsel to
    3
              STANFORD             at zumwalt@STANFORD.edu as well as Dr. Frederic Dirbas of tl~e billing
    4
              noncompliance and asked to begin discussions with STANFORD on new billing processes to
    5
              ensure compliance.
    6 72. To date, Defendants and their representatives have failed to acknowledge or to take steps to

    7         mitigate their unjust enrichment.

    8 73. Whilst the over billing records of Dr. Dirbas and the relevant exhibits in this brief speak for
              themselves, it is believed that this type of fraudulent billing is a wide spread practice throughout
    9
              STANFORD.
   10

   11

   12                    DEFENDANTS VIOLATED CODING AND SEPCIAL FEDERAL LAW
   13              PROTECTIONS FOR WOMEN UNDERGOING MASTECTOMY AND BREAST
   14                                                         SURGERY

   l5        74. Defendants' upcoding and unbundling affected and currently affects many patients who
                 underwent breast services at STANFORD.
   16
             75. Of particular interest in this action, are the upcoding in women's health care and breast care.
   17
             76. About 1 in 8 U.S. women (about 12%) will develop invasive breast cancer over the course of
   18
                 her lifetime. In 2017, an estimated 252,710 new cases of invasive breast cancer are expected
   19            to be diagnosed in women in the U.S., along with 63,410 new cases of non-invasive (i~~ situ) ~
   20            breast cancer. (Ref. https://seer.cancer.gov/statfacts/html/breast.html)

   21        77. Data released by the Agency for Healthcare Research and Quality(AHRQ)slow that while
                 b►-east cancer rates have remained constant, the rate of women undergoing mastectomies
  22
                 increased 36 percent between 2005 and 2013, including a snore than tripling of double
  23
                 i~~astectomies.                     (Ref.           https://www.ahrq.gov/news/newsroom/press-
  24
                 releases/2016/mastectomy-sb.html)
  25         78. Medicare is the expected primary payer for 44.5% of all hospital-based ambulatory surgery
  26             center unilateral mastecotmies, and 14.7% of all bilatEral mastectomies.

  27
                                                            - 13-
  28            COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC § 3729(a))
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         79. Therefore, the upcoding and unbundling in this action affect are of public interest and impact

    2        a large portion of healthcare spending.
         80. Thus, these coding issues identified through this action demonstrate institutional areas for
    3
             change. The system errors and similar coding discrepancies demonstrated in CMS records
    4
             appeared to be of a larger magnitude than expected.
    5
         81. For instance, under information and belief, a query with OSHPD showed that the upcoding
    6       claims involved potentially some STANFORD discharges of 224 mastectomy patients in
    7       20]2, and 217 patients in 2013.

    8    82. For example, based on Dr. Dirbas's NPI CMS billing of $1,618,328.50 plus larger non-CMS
            billings    and Dr. Gordon Lee's similar billings, STANFORD was asked to reply with
    9
             institutional timely compliance with correct coding initiatives. STANFORD failed to reply.
   10
         83. As STANFORD billed and received more than 700 million dollars in Federal funds from
   11
            Medicare, corrective action as a result of this Action will result in immense benefit to
   12       beneficiaries, and save federal and state healthcare dollars.
   13    84. This suit is also grounds for institutional awareness and improved coding through

   14       STANFORD's awareness of the foregoing CMS and Federal guidElines for correct coding.

   15    85. Attached hereto as "E~hibit A" is a true and correct copy with minor redaction of the
            authenticated Records Request for Medicare CMS billing and enrichment data                       of Dr.
   16
            Frederick    Dirbas's and Dr. Gordon Lee's revenue production at STANFORD through
   17
            November 2016.
   18
         86. Attached hereto as ``Exhibit B" is a true and correct copy of the CMS billing and enrichment
   19       data as a PDF of Dr. Frederick Dirbas's revenue production from 20l0 through 2016.
   20    87. Attached hereto as "Exhibit C" is a true and correct copy of the CMS guidelines for global

   21       surgical codes. CMS guidelines regLiire that healthcare providers may not charge for a
            separate evaluation and management code(`B&M")the day before a major surgery.
   22
         88. Attached hereto as "Exhibit D" is a true and correct copy of the STANFORD Annual
   23
            Disclosure report of Stanford Healthcare For the Fiscal Year Ended August 31, 2016, dated
   24
            January 25, 2017."
   25    89. 1n 2017, informational copies of the aforementioned records were made available to
   2h       STANFORD executives, STANFORD Counsel, Dr. Dirbas, and Ms. Zumwalt Vice President

   27       of STANFORD University and the STANFORD Office of the General Counsel for the
                                                       - ]4 -
   28      COMPLAINT United Statcs cx. relator Emily Roc. vs. Stanford et al. 37C Qui Tam (31 USC ~ 3729(a
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    1             purpose of helping STANFORD and the department of Surgery to urgently correct the

    2             unbundling of any preoperative visits moving forward, and to also timely institute a billing
                  compliance plan, which STANFORD declined to do.
    3

    4
                STANDARD MEDICARE AND "CMS" GLOBAL SURGERY FEE PRINCIPLES
    5

    6 90."CPT" is Correct Procedural Terminology and is the set of codes that standardize and codify

    7        standard medical services and surgeries. CPT designates separate codes for visits and separate
    .y       codes for procedures. Office visits are coded as five digit codes beginning with"992_ _"
         91. CPT code 9920_ codes specify a new patient visit, or one not seen by the provider in three years.
    9
         92. CPT code 9921_ codes designate a return patient visit.
   10
         93. CPT's 5`~ digit for office visits designates the level of complexity, from 1 (the lowest complexity
   11
             and least priced service) to 5 (the highest complexity and most expensive service). For example,
   12        Defendants in this action coded nearly all visits as 99205 or 99215, which demanded the highest
   13        payments. From 2010 to 2016, Defendants billed Medicare from $379 to $653 for a new patiei7t

   14        CPT code 99205 visit .They billed Medicare X263 to $458 for a return patient, CPT code 99215
             V 1Slt.
   15
         94. In comparison, from 2010-2016 Defendant DIRBAS billed Medicare CPT code 99211( tl~e'I
   16
             lowest service) only once. The charge for CPT 9921 1 was $23.
   17
         95. The "global surgical package", also called global surgery fee , includes all the necessary services
   18
             normally furnished by a surgeon before, during, and after a procedure. CMS assigns a fixed total
   19       or "global" fee for a codified surgery. The global fee payment for a code encompasses tl~e work
   20       required to perforni the surgery as well as the before and after-care for the surgery.

   21    96. Physicians who furnish the surgery and furnish all of the usual pre-and post-operative care may
            bill for the global package by entering the appropriate CPT code for the surgical procedure only.
   22
            Separate billing is not allowed for visits or other services that are included in the global package.
   23
            Thus, a surgeon cannot unbundle and bill separately for the pre-operative visit the day before
   24
            surgery.
  25 97. Office visits or "Evaluation and Management" services (herein "E/M" or "visits) the day before

  26        surgery are included in the surgical fee package, and not separately billable.

  27
                                                            - 15-
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    1    98. The national global surgery policy became effective for- surgeries performed on and after January

    2       1, 1992.A national definition of a "global surgical package"has been established to ensure that
            payment is made consistently for the same services across all A/B MAC (B)jurisdictions, thus
    3
            preventing Medicare payments for services that are more or less comprehensive than intended.
    4
           (Reference              hops://www.cros.gov/Outreach-and-Education/Medicare-Learning-Network-
    F~
            MLN/MLNProducts/Downloads/GlobaltSurgery-ICN907166.pd~
    C
    '~ 99. Medicare established a national definition of a "global surgical package" to ensure that Medicare

    7       Administrative Contractors(MACS) make payments for the same services consistently across all

    8       jurisdictions.
         100.    Medicare payment for a surgical procedure includes the pre-operative, intra-operative, and
    9
            post-operative services routinely performed by the surgeon or by members of the same group with
   10
            the same specialty. Physicians in the same group practice who are in the same specialty must bill
   11
            and be paid as though they were a single physician.
   12    101.    Medicare includes the following services in the global surgery payment when provided in
   13       addition to the surgery: Pre-operative visits after the decision is made to operate. For major
   14       procedures, this includes preoperative visits the day before the day of surgery.

   15    102.    The Medicare approved amount for these procedures includes payment for the following
            services related to the surgery when furnished by the physician who performs the surgery.
   16
            Therefore, a global fee paid for performing a mastectomy (a major surgery) already includes in
   17
            that total fee an amount for pre-operative and post-operative visits. Thus, the surgeon is not
   18
            entitled to unbundle and bill separately for pre-operative visits.
   19    103.    These services are not billable for payment:
   20           • For minor procedures, this includes pre-operative visits the day of surgery.

   21           • Intra-operative services that are normally a ustilal and necessary part of a surgical

   22                procedure
                • All additional medical or surgical services required of the surgeon during the post-
   23
                     operative period of the surgery because of complications, which do »ot require additional
   24
                     trips to the operating room.
   25
                • Follow-up visits during the post-operative period of the surgery that are related to recovery
   26                from the surgery
   27
                                                               1V

  28            COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~ 3729(a))
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     1              • Post-surgical pain management by the surgeon.

    2 104.           Global surgery applies in any setting, including an inpatient hospital, outpatient hospital,
                 Ambulatory Surgical Center(ASC), and physician's office. When a surgeon visits a patient in an
    3
                 intensive care or critical care unit, Medicare includes these visits in the global surgical package.
    4
         105.        Major procedures have a 90-day post-operative Period which by definition includes one day
    5
                 pre-operative. Also the day of the procedure is generally not payable as a separate service. Thus
    6,           the total global period is 92 days, counting 1 day before the day of the surgery, the day of surgery,
    7            and the 90 days immediately following the day of surgery.

    8    106.       Pursuant to CMS,codes with "090" are major surgeries (90-day post-operative period).

    9    107.       Medicare has multiple national contractors that administrate its plans. Palmetto GBA is one
                 such carrier. Palmetto provides a simple tool for providers to lookup CMS global days. (Ref.
   10
                 https://www.palmettogba.com/palmetto/globa190.nsf/Front?OpenForm#step l)
   11
         1 08.      For example, entering the CPT code "19302" into this search tool reflects that this is a major
   12
             surgery code for mastectomy with a 90 day global period. Thus the pre-operative visit before this
   13        surgery must not be unbundled and is not separately chargeable.(Screenshot inset below.)
   14            Code: 19302
                 Descriptio~~: P-mastectomy ~v/ln removal
   15            1~laditier:
                 Global Days: 9i) days
   16

   1 7 ~ l 09.      For example, entering the CPT code "19125" into this search tool reflects that this is a major
            surgery code for mastectomy with a 90 day global period. Thus, the pre-operative visit before this'
   18
            surgery must not be unbundled, and is not separately chargeable.(Screenshot inset below.)
   l9
                   Code: 1~12>
   20              Description: Excision breast lesion
                   Modifier:
   21              Global Days: 9U days
   22
         1 10.      Similarly, the following major surgery codes used by Defendants also have a 90 day global
   23        code which precludes Defendants from unbundling and billing separately for any pre-operative
   24        or post-operative visits: 19125, 19342, 19340, 19120.

   25
                                FEW EXCEPTIONS TO GLOBAL SURGICAL SERVICE FEES
   26

  27 I
                                                               - 17-
  28               GOMPLAINT Uniled Stales ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~ 3729(x))
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          l ll.    In this action, Defendants routinely and freely upcoded, unbundled, and billed foi- prc-

    21        operative visits which were included in the payment for the global surgery fees. There is no
              evidence here that any exceptions applied to any cases. All cases were unbundled pre-operative
    3
              visits which were charged after the decision for surgery was made. Some visits were billed for
    4
              post-operative visits which were also included in the global surgery fee.
    5
          112.     However, it is noted that the following services are not included in the global surgical
    6         payment. These services maybe billed and paid for separately: •Initial consultation or evaluation
    7         of the problem by the surgeon to determine the need for major surgeries. This is billed separately

    8         using the modifier "-57" (Decision for Surgery). This visit may be billed separately only for major

    9         surgical procedures.
          ] l3.    Evaluation and Management services (herein "E/M" or "visit") on the day before major
   10
              surgery, or on the day of major surgery that result in the initial decision to perform the surgery
   11
              are not included in the global surgery payment for the major surgery. Therefore, these services
   ff►~       may be billed and paid separately.
   f~~

                      DEFENDANTS FREELY VIOLATED GLOBAL SURGERY FEE RULES

   15     1 14.    Defendants performed major surgery services codes with "090" which qualify as global flees
              with a 90 day post-operative period.
   16
          1 15.    Defendants unlawfully and knowingly unbundled and separately coded for pre-operative visits
   17
              which they knew or should have known were part of the global surgery fee for major surgeries.
   18
          ll6.     Defendants unlawfully and willfully unbundled and coded for pre-operative visits done the
   19         day before major surgery. This unbundling practice yielded Defendants upwards of 20-50`%
   20         greater and unjust enrichment from the surgery.

   21     117.     For example, a mastectomy surgery is coded as "19301" and reimbursed approximately $900.
              Rather than accept $900 for the surgery, the surgeon deliberately upcoded the service to receive
   22
              enrichment of $1200 for the same surgery. This increased revenue was obtained when the surgeon
   23
             unlawfully unbundled and charged a separate fee for an extensive or comprehensive pre-operative
   24
              office visit, which lawfully would have not been separately reimbursable. Had the surgeon billed
   25         and coded correctly, CMS would have paid him only $900 in total for the surgery and the pre-and
   26        postoperative visits.

   27
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    1   118.     Here, the surgeons upcoded and billed for unbundled services, causing CMS to pay

    2       Defendants a total of $1200. Thus, Defendants obtained unjust enrichment through submitting
            false claims.
    3

    4

    5   REPRESENTATIVE STANFORD UNBUNDLED GLOBAL FEE CASES : DR. DIRBAS

    6   1 19.    Representative cases of STANFORD'S improper and unbundled billings are inset below.
    7       • 99205 and 99214 are evaluation and management("EM") or "office visit" codes.

    8       •    19301 is a mastectomy code, a major surgery under CMS rules which has a 90 day "global"

    9            period.
           • Here, STANFORD unlawfully unbundled and billed for apre-operative visit on the day before
   10
                 surgery, which was actually part of the global surgery fee.
   11
      1/24/2012   1/24/2012 22      1       99205                        2330
   12 2/2]/2012   2/21/2012 22      1       99214                        2330
   13 2/22/2012   2/22/2012 22      2       19301 LT GC                  2330
      4/4/2012    4/4/2012    22    2       19301 58      T GC           2330
   14 120. In the aforementioned case, on 2/22/12 CMS beneficiary underwent a major surgery coded as

   15       CPT 19301.

   16       Code 19301 includes the day before and 90 days afterwards as a global surgical code. On 1/24/12
            CMS was billed and paid for a comprehensive, high level, new patient E&M code as CPT 99205.
   l7
            The decision for surgery was made at that first visit.
   18
            On 2/21/12 CMS was wrongly billed and paid STANFORD for a separate extended evaluation
   19
            and management "E&M" service as 99214. This was one day before surgery. Therefore, the
   20       professional services on 2/2]/12 were included in the global fee paid to STANFORD foi- the
   21       surgery code.

  22    1 21.    According to CMS, is it improper for a surgeon to have charged a visit the day pre-op for
            major surgery when he already did the "pre-op", made a decision for surgery, and scheduled
  23
            surgery less than 30 days prior. if a surgeon prefers to meet with the patient the day or two before
  24
            surgery to touch base and answer questions before surgery, that encounter is not separately
  25
           chargeable and is encompassed in the global code and fee assigned for the surgery.
  26

  27
                                                             - ~7-
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    1   122.     As another representative example, Defendant Dr. Frederick Dirbas unlawfully billed and

    2       received payment from CMS for apre-opeyative visit the day before he performed a major surgery
            on the same beneficiary.
    3

    4   1 23.    Pursuant to CMS guidelines, the visit on 9/l/15 was included in the global surgery fee paid to

    5       the surgeon for the surgery performed on 9/2/15. Thus, the unjust enrichment from unbundling
            the pre-operative visit on 9/1/15 was unlawful and must be reimbursed to CMS. CPT codes 19120
    6
            and 19125 are used for excision of breast lesions, where attention to surgical margins and
    7
            assurance of complete tumor resection is unnecessary.
    8
        1 24.    CPT code 99214 is an extended evaluation and management service, or office visit.
    9
        9/ 1 /2015      9/ 1 /2015    22     1        99214
   10
        9/2/2015        9/2/2015      22     2        19125 RT        GC
   1l
        l 25.    As an example, Defendant Dr. Frederick Dirbas unlawfully billed and received payment from
   12
            CMS for apre-operative visit the day before he performed a major surgery on the samc
   13
            beneficiary. Pursuant to CMS guidelines, the visit on 6/28/16 was included in the global surgery
   14      fee paid for the surgery performed ou 6/29/16. Thus the unjust enrichment from unbu~ldling the
   l5      pre-operative visit on 6/28/16 was unlawful and must be reimbursed to CMS.

   16
        126.     CPT code 99215 is the highest reimbursed return patient visit, a comprehensive evaluation
   17      and management code. It is unlawful to separately bill this code for apre-operative visit. CPT
   18       1 9302 is a major surgery code with a 90 day global fee basis.

   19
      Date of Service         CPT code Modifier
   20    6/9/2016              99205
         6/28/2016             99215
   21
         6/29/2016             19302     LT
   22 1 27.   As another      example, Defendants Dr. Dirbas and STANFORD billed a new patient visit on
           5/19/16. On that date a decision for mastectomy was made. He then unbundled and unlawfully
   23
           billed apre-operative visit on 6/2/16. On 6/6/16 he performed a modified radical mastectomy
  24
           surgery.
  25
                Per CMS, the visit on 6/2/l6 was included in the global fee paid to Dr. Dirbas for the
  2H       mastectomy.
  27
                                                             - ~„ -
  28            COMPLAINT Uni[ed States cx. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~ 3729(x))
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    1              Thus, Dr. Dirbas was not entitled to "double dip" and collect unjust enrichment for a visit

    2         which was calculated and included in CMS global surgery fee to him.

    3
              Date of Service       CPT code        Description
    4
                                                     ew patient comprehensive exam on May 19, 2016 and
    5         5/19/2016             99205
                                                   decision for sure was made. Sure scheduled on 6/6/16.
                                                     edicare was unlawfully charged fora pre-operative visit as
    6                                              a high level comprehensive return visit. By CME rules, this
    ~ ~       6/2/2016              99215
                                                    isit 4 days before surgery is not separately chargeable.

    8                                              Surgery date where Global surgery code for modified radical
              6/6/2016              19307            astectomy including removal of under arm lymph nodes has
    9                                              a 90 da lobal eriod and includes the re-o visit.
   10
          1 28.    As another example, Defendants Dr. Dirbas and STANFORD unlawfully billed and received
   11         reimbursement for apre-operative visit on 6/21/16. CPT code 99215 is the highest paying office
   12         visit code for a return patient. This illegal unbundling practice resulted in unjust enrichment of

   13        approximately $200 to Defendants Had it not been for Defendants' unlawful upcoding and
             unconscionable billing, CMS would have paid at least 20% less for tl~e total care of this
   14
             beneficiary.
   15
           Date of Service        CPT code           Description
   l6
                                                       New patient comprehensive exam charged on June 7,
   17                                                 2016 and decision for surgery was made. Surgery
           6/7/2016                99205              scheduled for 6/22/16.
   18                                                 Medicare was unlawfully charged fora pre-operative visit
                                                      as a high level comprehensive return visit. By CME rules,
   19                                                 this visit 1 day before surgery is not separately chargeable.
   20      6/21/2016              99215
                                  19301     Global surgery code         for Partial mastectomy or
   21                                       lumpectomy of breast is a major surgery code with a 90 day
             6/22/2016                       lobal fee and includes the re-o erative and ost-o care.
   22     1 29. As another example, Defendants Dr. Dirbas and STANFORD unlawfully charged and
   23        received CMS payment for apre-operative visit on 11/29/12. CPT code 99214 is the 2"d highest

   24        paying office visit code for a return patient.
                   This illegal unbundling practice resulted in unjust enrichment of approximately $130 to
   25
             Defendants. Had it not been for Defendants' unlawful upcoding and unconscionable billing, CMS
   26
             would have paid at least 20% less for the global care of this beneficiary.
   27
                                                                 L1

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    l   mate of Service           CPT code               Description
                                                  efendants charged a new patient visit code for the highes
    2   1 1/20/2012            99205            level and highest paying code. The decision to proceed with
                                                sur er was made and was scheduled for 12/17/12.
    3
                                                Defendants Lmlawfully unbundled and billed for a pre-
        11/29/2012             99214
    4                                           o erative visit before sur er .
                                                This mastectomy code is a major surgery with a 90 day global
    5   1 2/17/2012            19301            service. The global fee reimburseil~ent includes the pre-
                                                o erative and osto erative care .
    6

    7   1 30.   As another example, Defendants Dr. Dirbas and. STANFORD unlawfully charged a pre-
            operative visit on 8/14/12.
    8

    9 Tate of Service         CPT code    Modifrer                   Description
                                                       ew patient comprehensive visit charged and decision foi
   10 8/2/2012              99205          GC
                                                     sure made. Sure scheduled for 8/22/12.
   11                                                Defendants unlawfully billed for apre-operative visit.
        8/14/2012           99215
                                                     The coded it as the hi hest a in com rehensive visit.
   12
        8/22/2012           19301          LT        patient underwent surgery(mastectomy), a major surge
                                                     code with a 90 da lobal.
   13                                                Open excision of lymph nodes is also a 90 day global
        8/22/2012           38525          51
                                                     code. Thus the re-o erative visit was included in this fee.
   14

   15   1 31.     As another example, Defendants unlawfully billed apre-operative visit on 2/7/2013. CPT
            code 99215 is the highest paying office visit code for a return patient. This illegal unbundling
   16
            practice resulted in unjust enrichment of approximately $200 to Defendants. Had it not been for
   17
            Defendants' unlawful upcoding and unconscionable billing, CMS would have paid at least 20%
   18
            less for the care of this beneficiary.
   l9      (Inset from Exhibit "B": CMS production of billing and payment records to Defendants)
   20

   21       Date ~f Service      C'PT cede
                                        ew patient comprehensive code billed. Decision for surgery made
   22 ]/24/2013               99205
                                       and mastectom scheduled for 2/20/13.
   23 2/7/2013                99215 Unlawfully billed apre-operative visit. Used the highest paying code.
      2/20/2013               38525 Lymph node Dissection with a 90 day global fee service.
   24 2/20/2013               19303 Mastectomy major surgery code with a 90 day global fee service
  25

  26    1 32.    As another example, Defendants unlawfully billed apre-operative visit on 9/1/2015. CPT

  27       code 99215 is the highest paying office visit code for a return patient. This illegal unbundling
                                                             - LL-

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    1       practice resulted in unjust enrichment of approximately $200 to Defendants Had it not been for

    2       Defendants' unlawful upcoding and unconscionable billing, CMS would have paid at least 20%
            less for the care of this beneficiary.
    3

    4    217                                 I6820     104331574       6/30/2015         1       99205
                                             8         0
    5
         217                                 I6820     104331574       9/1/2015          1       99214
    6                                        8         0
         2l7           V438                                            9/2/2015          2       19125      R       GC
    7                  2                                                                                    T
    8

    9    62. As an example, Defendants unlawfully billed an office visit for 9/28/10 in the global post-
   10 operative period. Per CMS,the major surgery codes including CPT 19125 and 19126 have a 90 day
        global period. Thus, the charge on 9/28/10 was only 10 days after surgery and should not have been
        billed.
   12

   13
            Inset from Exhibit B:
   14
        Tate of CPrvice          ('PT cnrle Mnrlifier                  l~ia¢n~si~ Prnvicler IJPTN
   15    9/9/2010           1        99204                               2330         OOG589351
         9/20/2010          2        19125 RT                            2330         OOG589351
   16    9/20/2010          2        19126 59                            2330         OOG589351
   17    9/28/2010          1        99213                               79380        OOG589351

   18

   19   1 33.     1n these cases, the surgeon always coded maximum fees and high level codes as a 99205 for

   20       new patients, and 99215 or 99214 for return patients. CPT code 99205 is the highest paying office
            visit code for a new patient. CPT codes 99215 is the highest paying office visit code for a rettu•n
   21
            patient.
   22
        1 34.     Defendants' illegal unbundling practice resulted in unjust enrichment of approximately $200
   23
            per patient to Defendants. Had it not been for Defendants' unlawful upcoding and tmconscionable
   24       billing, CMS would have paid at least 15-20% less for the care of.each beneficiary.
   25

   2C             DEFENDANTS UPCODED AND BILLED UNDER THE PHYSICIAN NPR WHEN A
                  MiD LEVEL PROVIDER RENDERED SERVICES.
   27
                                                             - 23-
   2K           COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~ 3729(a))
Case 2:17-cv-08726-DSF-AFM Document 1 Filed 12/04/17 Page 23 of 48 Page ID #:23




    1   135.     Defendant surgeon Dr. Dirbas used a mid level provider (physician assistant) to provide for

    2       much of the initial, pre-operative, and post operative services for patients. He nearly exclusively
            charged all services under his own NPl regardless of if the mid level provider rendered the
    3
            services, especially the pre-operative charges.
    4
        l 36.    Defendant surgeon Dr. Dirbas regularly charged for the highest level of office visit for new
    5
            patients as CPT "99205". By time requirements alone are this level code is a very lengthy 60
    6       minute visit. Therefore, the surgeon's billed fees for E&M code "99205" in one day would
    7       amount to 1 hour per patient. If his charges were to be believed, he would, on a 7-hour work day,

    8       have only an ability to see and bill 7 patients in this type of exam, and would not have time to see
            other lower level patients or do any operation.
    9
        1 37.    Defendant surgeon Dr. Dirbas unlaw ul y i e apre-operative v~srt ~n v~o anon o
   10
            global surgery fee rules. In addition, Defendants would illegally bill for these services provided
   11
            by his physician assistant.
   12

   13

   14
                                                   CAUSES OF ACTION
   IS

   16                                          FIRST CAUSE OF ACTION
   17 CIVIL FALSE CLAIMS ACT,31 U.S.C. §§ 3729-33("FCA");"QUI TAM ACTION."

   18 By Plaintiff United States of America

   l 9 Against all of the STANFORD Defendants and DOES 1 through 50

   20
        138.     Plaintiffs incorporate by reference and reallege the preceding paragraphs.
   21
        139.     This is a claim for damages and penalties under the Civil False Claims Act, codified at 31
   22
            U.S.C. §~ 3729-33 brought by the United States of America.
   23   140.     It is illegal to:
   24 (1)        Knowingly present or cause to be presented any false or fraudulent claim for the payment of

   25 a loss or injury, including payment of a loss or injury under a contract of insurance.
      (2)     Knowingly present multiple claims for the same loss or injury, including presentation of
   26
       multiple claims to more than one insurer, with an intent to defraud.
   27
                                                               LY -

   28           COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~ 3729(a))
Case 2:17-cv-08726-DSF-AFM Document 1 Filed 12/04/17 Page 24 of 48 Page ID #:24




    1 (3)         Knowingly prepare, make, or subscribe any writing, with the intent to present or use it, or to

    2 allow it to be presented, in support of any false or fraudulent claim.
        (4)       Knowingly make or cause to be made any false ar fraudulent claim for payment of a health
    3
        care benefit.
    4
        1 41.     It is illegal to "knowingly assist or conspire with any person" to do any of the following:
    5
        (1)       Present or cause to be presented any written or oral statement as part of, or in support of or
    6 opposition to, a claim for payment or other benefit pursuant to an insurance policy, knowing that the

    7 statement contains any false or misleading information concerning any material fact.

    8 (2) Prepare or make any written or oral statement that is intended to be presented to any insurer or
        any insurance claimant in connection with, or in support of or opposition to, any claim or payment or
    9
        other benefit pursuant to an insurance policy, knowing that the statement contains any false or
   10
        misleading information concerning any material fact.
   11
        142.      Civil False Claims Act, 31 U.S.C. §§ 3729-33 ("FCA") or "Qui Tam" actions provide that
   12         every person who violates this code section is subject to civil penalties of tens of thousands of
   13         dollars of penalties per act.

   14   143.      By virtue of the acts described above, STANFORD Defendants violated the FCA.

   15   144.     STANFORD Defendants submitted false, fraudulent or misleading bills to
              payors by regularly and freely unbundling and separately charging for pre-operative visits
   16
              which were part of a global fee schedule, and thus not eligible for separate billing.
   17
        145.     STANFORD Defendants submitted false, fraudulent, or misleading bills to payors by
   18
              unbundling and charging for pre-operative and sometimes post-operative visits that are already
   19         captured in other revenue codes or in the surgeon's separate bills.
   20   146.     The STANFORD Defendants submitted false, fraudulent, or misleading bills to CMS through

   21         use of time-based or complex level billing of the highest level paying codes designating
              comprehensive visits for pre-operative services. These separate pre-operative charges for visits
   22
           implied that the patient is being billed separately for "free" visits before or after surgery
  23
              when in fact all such services are captured in other codes or in the surgeon's separate bill.
  24
        147.     The STANFORD Defendants submitted false, fraudulent or misleading bills to payors by
  25          inflating the bills through unjustified pre-operative visit , thereby rendering ilhisory any global
  26       surgery fees that CMS set or the insurers had negotiated with the STANFORD Defendants, either

  27       on their own or through national correct coding guidelines.
                                                            - 25-
  28            COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC § 3729(a))
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    1    148.     As a result of the above-described conduct, Plaintiffs are entitled to damages as provided for

    2         by 31 U.S.C. §§ 3729-33.

    3

    4
                                             SECOND CAUSE OF ACTION
    5
                        California Insurance Frauds Prevention Act, Ins. Code Section 1871.7
    6                                       By Plaintiff the State of California
    7                    Against all of the STANFORD Defendants and DOES l through 50

    8

    9    149.     Plaintiffs incorporate by reference and rEallege the preceding paragraphs.
         50.      This is a claim for damages and penalties under the insurance Frauds Prevention Act, codified
   10
              at Cal. Ins. Code section 1871.7, brought by the State of California.
   11
        l 51.     Penal Code section 550(a) makes it illegal to:
   12 (1)         Knowingly present or cause to be presented any false or fraudulent claim for the payment of
   13 a loss or injury, including payment of a loss or injury under a contract of insurance.

   14 (2)         Knowingly present multiple claims for the same loss or injury, including presentation of

   15   multiple claims to more than one insurer, with an intent to defraud.
        (3)       Knowingly prepare, make, ar subscribe any writing, with the intent to present or use it, or to
   16
        allow it to be presented, in support of any false or fraudulent claim.
   17
        (4)       Knowingly make or cause to be made any false or fraudulent claim for payment of a health
   18
        care benefit.
   19 (5)        Knowingly submit a claim for a health care benefit that was not used by, or on behalf of, the
   20 claimant.

   21   152.     Penal Code section 550(b) makes it illegal to "knowingly assist or conspire with any person"
              to do any of the following:
   22
          (1) Present or cause to be presented any written or oral statement as part of, or in support of or
   23
              opposition to, a claim for payment or other benefit pursuant to an insurance policy, knowing that
   24
              the statement contains any false or misleading information concerning any material fact.
   25     (2) Prepare or make any written or oral statement that is intended to be presented to auy insurer
  26          or any insurance claimant in connection with, or in support of or opposition to, any claim or

  27
                                                             - 26-
  28            COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC § 3729(x))
Case 2:17-cv-08726-DSF-AFM Document 1 Filed 12/04/17 Page 26 of 48 Page ID #:26




    1       payment or other benefit pursuant to an insurance policy,lcnowin~ that the statement contains any

    2       false or misleading information concerning any material fact.
        153.     Insurance Code section 1871.7(b) provides that every person who violates Penal Code section
    3
            550 is subject to civil penalties of between $5,000 and $10,000, plus an assessment of not more
    4
            than three times the amount of each claim for compensation.
    5
        154.     By virtue of the acts described above, STANFORD Defendants violated the IFPA.
    6   155.     STANFORD submitted false, fraudulent or misleading bills to
    7 payors by regularly and freely unbundling and separately charging for pre-operative visits

    8   which were part of a global fee schedule, and thus not eligible for separate billing.
        156.     STANFORD submitted false, fraudulent, or misleading bills to payors by unbundling and
    9
            charging for pre-operative and sometimes post-operative visits that are already captured in other
   10
            revenue codes or in the surgeon's separate bills.
   11
        1 57.    STANFORD submitted false, fraudulent, or misleading bills to payors through use of time-
   12       based or complex level billing of the highest level paying codes designating comprehensive visits
   13       for pre-operative services. These separate pre-operative charges for visits implied that the patient

   14       is being billed separately for "free" visits before or after surgery

   15   when in fact all such services are captured in other codes or in the surgeon's separate bill.
        1 58.    STANFORD submitted false, fraudulent or misleading bills to payors by inflating the bills
   16
            through unjustified pre-operative visit , thereby rendering illusory any global surgery fees that
   17
           CMS set or the insurers had negotiated with the STANFORD Defendants, either on their own or
   18
           through national correct coding guidelines.
   19 ]59.       As a result of the above-described conduct, Plaintiffs are entitled to damages as provided for
   20      by Insurance Code section 1871.7.

   21

   22
                                               THIRD CAUSE OF ACTION
   23
                           Declaratory and Injunctive Relief, Ins. Code Sections 1871.7(b)
  24
                    By Plaintiff the State of California Against A❑ Defendants and DOES 1-50
  25

  26    160.     Plaintiffs incorporate by reference and reallege the preceding paragraphs.

  27
                                                              - G/ -

  28            COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~~' 3729(a))
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    1   Insurance Code Section 1871.7(b) empowers the Court "to grant other equitable rclicf, including

    2 temporary injunctive relief: as is necessary to prevent the transfer, concealment, or dissipation of
        illegal proceeds, or to protect the public."
    3
        161.    The Commissioner seeks equitable relief pursuant to Ins. Code section 1871.7(b), because
    4
           unless equitable relief is granted, Defendants are likely to continue their unlawful conduct after
    5
           the conclusion of this litigation. The State of Califarnia will continue to suffer damage if
    6      Defendants continue their fraudulent activities, as health insurance rates will continue to increase
    7      more than they otherwise would or should.

    8   162.    As described above, Defendants use contractual provisions to prevent challenges to fraudulent
           billings. These contractual provisions are contrary to the Insurance Code and public policy, and
    9
           should therefore be declared unenforceable pursuant to Civil Code section 1667.
   10

   11

   12

   13                   ON BEHALF OF PLAINTIFF UNITED STATES OF AMERICA

   14 WHEREFORE,the United States prays for judgment against Defendants as

   15      a. Judgment in an amount equal to three times the amount of each
                claim for compensation submitted by the Defendants from the commencement of the statutory
  (
  1
                period through the time of trial;
   17
           b. Liability to the United States Government for a civil penalty of not less than $5,000 and not
   18
                more than $10,000, as adjusted by the Federal Civil Penalties Inflation Adjustment Act of
   19           1 990 (28 U.S.C. 2461 note; Public Law 104           10 [1]), plus 3 times the amount of damages

   20           which the Government sustains because of the act of that person from the commencement of

   21           the statutory period through the time of trial;
           c. Disgorgement of profits unlawfully acquired by Defendants;
   22
           d. An award to Relator of the maximum amount allowed pursuant to Civil False Claims Act, 31
   23
                U.S.C. §~ 3729-33 ;Attorneys' fees, expenses and costs of suit herein incurred, pursuant to
   24
                Civil False Claims Act, 31 U.S.C. §§ 3729-33.
  25       e. An injunction against each of the defendants for any continuing conduct violating the Civil
  26           False Claims Act, 31 U.S.C. §§ 3729-33.

  27
                                                            - ~o-
  28           COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~ 3729(a))
Case 2:17-cv-08726-DSF-AFM Document 1 Filed 12/04/17 Page 28 of 48 Page ID #:28




       1       f.     An order directing Defendants to cease and desist from violating Civil False Claims Act, 31

    2                U.S.C. §§ 3729-33.
               g. An order and findings declaring that any contractual provisions used by Defendants to prevent
    3
                     challenges to fraudulent billings are against the public policy of the United States of America
    4
                     and therefore unenforceable.
    5

    6       Such other and further relief as the Court deems just and proper.
    7

    8
                                       FOR PLAINTIFF THE STATE OF CALIFORNIA
    9
           WHEREFORE,the State of California prays for judgment against Defendants as
   10
               a. Judgment in an amount equal to three times the amount of each
   11
           claim for compensation submitted by the Defendants from the commencement of the statutory period
   12 through the time of trial;

   l3          b. A civil penalty of $10,000 for each violation of Insurance Code section 1871.7 from the

   14                commencement of the statutory period through the time of trial;

   15          c. Disgorgement of profits unlawfully acquired by Defendants;
               d. An award to Relator of the maximum amount allowed pursuant to Insurance Code section
   16
                     187].7; Attorneys'fees, expenses and costs ofsuit herein incurred, pursuant to Insurance Code
   17
                     section 1871.7;
   18
              e. An injunction against each of the defendants for any continuing conduct violating Insurance
   19                Code section 1871.7;
   20         £      An order directing Defendants to cease and desist from violating California Insurance Code

  21                 section 1871.7;
              g. An order and findings declaring that the contractual provisions used by Defendants to prevent
  22
                     challenges to fraudulent billings are against the public policy of the State of California and
  23
                     therefore unenforceable.
  24

  25       Any such other and further relief as the Court deems just and proper.
  26

  27
                                                                 - L7 -

  28                COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC § 3729(a))
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       1   JURY TRIAL DEMANDED. Damages Sought Will be In An Amount To Be Proven At Trial.

    2

    3
                         Respectfully Submitted,                                    Dated: November 26, 2017
    4

    5           Plaintiffs the United States of America ,and the State of California.

    6 ex. relator EMILY ROE, on behalf of Plaintiffs.

    7

    8      Date: November 26, 2017           s/ EMILY ROE
    9

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  28           COMPLAINT Unitcd States ex. relator Etnily Roe. vs. Stanford et al. 376 Qui Tam (31 USC ~~ 3729(x))
Case 2:17-cv-08726-DSF-AFM Document 1 Filed 12/04/17 Page 30 of 48 Page ID #:30




                                                  PROOF OF SERVICE

    2                         STATE OF CALIFORNIA, COUNTY OF ORANGE
              I am over the age of 18 years. I have personal knowledge of the facts upon which I make this
    3 declaration, and if called upon to testify, under oath, I could and would competently testify thereto.
      On the date below I caused to be served the accompanying correspondence and within Complaint
    4 on the required parties and filed with the court in this action, as follows:

    5
      D (service by personal service) By uploading a true and correct copy thereof for personal service
    6 to the attached service list.
      D (Correspondence by mail) By placing a true and correct copy of the correspondence to the
    7 attached service list in a sealed envelope, addressed as indicated on the attached service list, with
      postage thereon fully paid, and depositing in the U.S. Mail.
    8

    9 United States Attorney General for the District of California
       Ms. Do►-othy Schouten, Chief, Civil Division
   10 Office of the United States Attorney
       300 N. Los Angeles Street, 7r~' Floar, Suite 1200
   1 1 Los Angeles, CA 90012
       (2l3) 894-2879 (Phone)/ (213) 894-7819 (Fax)
   12

   13 Attorney General of the State of California
       The Attorney General's Office
   14  California Department of Justice Attn: False Claims Unit
       455 Golden Gate Avenue, Suite 1 1000
   I S San Francisco, CA 94102-7004

   16
        Chief Counsel, California Department of Insurance
   17   Adair M. Cole, State Bar No. 145344
        Richard Krenz, State Bar No. 59619
   18   Antonio A. Celaya, State Bar No. 133075
        45 Fremont Street, 21 Floor
   19   San Francisco, CA 94105
        Telephone: (415) 538-4117/ Facsimile:(415) 904-5490
  20
        Attorneys for Mr. Dave Jones, Insurance Commissioner of the State of California and the California
  21    Department of Insurance
              Ideclare under penalty of perjury under the laws of the State of California that the
  22    foregoing is true and correct. Executed this 27 th day of November 2017, at Orange, California.

  23

  24

  25                                         s/ EMILY ROE A.
                                             EMILY ROE A.
  26                                         Declarant/ Relator

  27
                                                          - 31-
  ~~          COMPLAINT United States ex. relator Emily Roe. vs. Stanford et al. 376 Qui Tam (31 USC § 3729(a))
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      ear~
     This letter is in response to your.. Freedom of Information Act (5 U.S.C. X552) request of
     3/6/2017., «-hich you sent to the Centers for Medicare &Medicaid Services. Niithin your
     correspondence,youu requested FOIA responsive coding and billing documents (with
     pseodynmized F~[C #s) for providers.

                     o     Dr. Frederick Dirbas at Stanford for dates of service from. I / 1/2010 to present




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      1 15445709 i,~                                                                                           f have
      determined to release thorn to you. as enclosed. Three spreadsheets are released            ~ to yo n their
      entirety. However, I am denying you access to portio~~.~ of three s .~eadsh~e ; 4uant to
      Exern lion b of~, the FOIA (5 U.S.C. ~552(b)(6)}.                          _ ,~ ~~ _ ,_
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     Exemption 6 of the FOIA permits a Federal agency to withhold information contained in
     personnel and medical files and.similar files the disclosure of which «~ould'`constitute a clearly
     u nwarranted invasion of personal privacy." I have weighed the public interest in disclosure
    (which the Supreme Court has held to be limited in this context to the public interest that would
     be served by shedding light in the agency's performance of its statutory duties) against the harm
     to the privacy ofthe individuals identified in these records and have concluded that the privacy
     interest of the subject individuals outweighs the public interest in disclosure in this particular
     m atter.
Case 2:17-cv-08726-DSF-AFM Document 1 Filed 12/04/17 Page 33 of 48 Page ID #:33




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      TM                      Ii t      !.(`!       k.J''       b11       L{1            1..^
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        -h                     ~-.i     .•~5           t        ~•,a                                                                                                                                                                      ~
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                              (,1                               S~J       ~S             L,"~S                                  C::'      t:~      CJ"            C.'~'      C`+ . ~.+               L~        ~"i        W                                          %        ~ ''.        `                ,~^C            C'J          C'"•        C̀~           J t              `~                            _l:  _J
   i  f~'~                              t,~'F       ~?                                            C7 .~"i                                                                                                                                                                                                                                                                                                        +
'...~                                                                                                    s~                     ~•.i      t'~      :'~            ~~         ~l '. mod-              ~'~f      ~a         ^'~3            ~'.i     ~~                         rel             ~       F g                   fed                      ra            t                ~eF                   ~           .`~i
      e~.l                    f•:       t^~t        ~'^~        ~d        f-1-           f~-t     t'~] ;
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            '~, o` cam.                                                        s`,
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            i~q    ~-,~                                         ,~, ~~~ „~ ~i                                                        w~=~ .ri                                                                                                                                         +~.1                                                                                                             Tl
     ~:,.                                           ,e-i                                                     '`:."~              ~..:                              ....i     fS~l                    K.:       ....^      '~.`f                     -̀•^t                                    1.f!  Cis      w                                          ~           ~{:               f'~~"3                        _       ~~.9'
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             4~~ 4~1                       !~':             >             >           r~j"x C7"                    ~C %       +Y1~                                                        GT1           C'e       `'*1                           C~        S~1                                                             a~1       ',~"~       '~.'
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      ifr ^,. ' r                          r~         r-, rn                    ~-~         r~~ r~ ~ r _                                            ~ t^~                       ~.~ ^^. ~_                              ~•                       t- r-~                                   ' r-. r-~ "-                     ~ ,  r=,      r, ,
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                                                                                .-~ .-~1                 .-a       4          .w         ..-.e                        ~e        «..i      r-K   ...t   -n                   ..-,      ~-s   ~s ,~? '.-a                         r-.s  «.v              «~ ' z~-s           +-9       ~--:  r-s  .,~.~                     .-i         .w
   ~,~' -~                  .--i           r^4        ~              ~--I                                                                           +vf ..-a
                            .-i            e~^1                      .~(        -^S  r^1                 ^'^1      ~-i        .+a        ^1         ..,,& ^^d         N+e       t^i       s-R ' a-,a e.-n                   -a-~T     ..-'f ~--3 --1 :..-i                      n-1 ~ .-ot             .--R ~.-i           '-1       x-t  --4 ~                           '~-ti       ^S
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                                                      r            - f"Y...     ~ '~
      r -"                                                                                               ~`        ~                                                                      ..^t        ~                     t,~t      ~"i   ~,s    r   ,mss                         ~r _                  ~        „~      ~-w      ~;',                                  4:           ~.
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      t'1  .,               ~, rJ                                     .,        ,-r`                     f~        G'~                   ':FJ                                             r"..?       4''"        f*'t      ('        i 3   f"t r^ ~~                           ~                         ~        ~       i'^.     [}-                  t'1
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      ~                                                                                                    q       °^s        'C~        ~t                  2,̀a               _~          -e        t`          f         u ~       s     t' t rs
                                                                                                         .'~!      ,-e        t,~t       «-~        ,u         wy     t37       r-t       ~           ~d          t+.At     €-,.            1"~F ;G    vn                       ,~e      ~             ~           „~      ..-~ '
                                                                                                                                                                                                                                                                                                                                c"3 •--e                  ~               --~         s.-~
      ~ ~-^                 '~;J ,
                                 ,G                   ~                f'~J     a~~,~"~
 'C~         r'fi,                                                                          ~ ^                                                                                                      ,J                                                                                                            ~J                                                                 '~'
               a                                                                              ~
                                                                                            r.d,. ~                                      ,g^
             y..._                         {~                                   ~}                 ,               ~                                                            ~,,.      ;_,}         Cif                                                 #. ~                                        b-          C!:e    t~                                             .,,.~
      ~.                                                          ..                                                                      _...
      .~,                                         _                                                                 __                                                                                                                                                          ~~ ;~ .~.                                                                                  r•t
             .-•            ~~~            r~ ~-                                             ~,            ~~      r3  ran               t~                                                                                                                                                 ._. c                          •,mss_               , ~~. - rr.                           r>~
                                           -~t        ~.                                                           .-~         ..-i      .~h        ...~e    .-x      ~         ~-.a      ....s       d,.:-                 -         r u'       ~"w'      ~          ,-~       _.~       H
                                                                                                                                                                                                                                                                                       ~x c                                ~           1          C'3   a-%               r-y         i...~
                                                                                                                               ~"`,~     ="„~       t'~.!    r:;                ..-       rtj         ns                                         s~         ,,~       s d        ~     [`+'t ~'*~
                                                                                                                                                                                                                                                                                          r~                               ^~7       i l          "~d P d                 i•J         `~"~
  E          "' 3                 1         =:                                                               1     fid
       ~     ,]~              ~            rn                                                                +     '~         ,~,~7      e.~r>                                  ~         i
                                                                                                                                                                                          t,.         ~,~                             :7~.       .may      ~~         ~         rn        ;;.
                                                                                                                                                                                                                                                                                       q1 '~'                              17~                    ^;~                     ~           ;Tr
  6
              -,,..._.                     ~~:.....
                              ~                                                               -;          '^       .-+        ~s          -~.       rte!     r"ti     "'~!      f'~!      '*.         d'-                   -                    '~a       ~"F1       f•~~      R"-i       t'<I        ^ti:                n,f                     i     r                --.
                            ~~d                                                      -      _ ~                ~   .-~<       .~^i                  t'.F     ~'-3     Ps        C'~f      i           fi                                         ^~;       ~.~        a-,y      f'~a       ['.;7       i'V'        ^t~     ri                    ^~d                      r•.{
             iJ                            f~> :~~
  j ~ ~       r'*i           rr-                                                                                    e~'r        ,f:        i'`..j        ~    lx         f"r      ?' t     if           ~~,..                                                          ~         ~~'1. . ~^             t7i         C.7`              +'                  ~                  f?        Y~
"~            i'~~                             ..         Cam.,                                                                                                                   ~.,                                                                       ~~              j      ~_y      ~           ~^          L                                                        _         i f'~
                                                                                 ~^              ,..                ~,.~,      ~~          rr~       ,±-      ~         ...a'                                                             ~ .~
~~ j ru                                                                                              I                                                                                                                                    .                                         _                                                      -i                 a
     l~.'                              ~                                                                                                                                                                    _
      "~                                                                                    f_?.                                                         t   tom.     r,        f.,,.~                            _"'~      ~{,                                                            r-1                             r..                    .      ~                ~T
                    i                                      Z            t'Y     e                                                         J~~                                                                                                                                                                                         X3         ~
      ~"'                   ~              ti.L~ !
                                                 : ",^d                              [                             F~:                    x;,;~     e}~~     '.11        ~      i,L                               f .J                           r`d       ."~+      '~         '~         r.l           ,..        ..~    tL`~         ..       r-i         -                        ,-4
                                                      ~                   _:    -~           ~                        v           e~        ~.                                   ti                                                              i                                                                                                                        _
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               .,_                                                                                                            e           ,a. t                ~,7              ^r,                                                                                                                    .._.,
                                                                                                                                                                       iJ                      ,~t
                                               _                                                                                           ;,                ..,                 a         _                                                                F                                                                 _
                            ..                                                  .
                                                                                ..                                   „z                     ..               .,-,                    _                  C.                            ..
                                                                                                 __        ,~
                                                                         Pw,     rr.         t'n                                           r,^y      -'~"     f'*,~     .-w       ra       r,~             ~...    ;....j    fr        rrE       r«~        ^.r        t~1       ,,.~-.     ~Li         ice..      :r                 i.^.~                  ,~...         ,..~,.
              .~.~..         r;`             -^,1         4x~                                             {^        r;l        (--1
                                                          ^^i                    r--t        ~,-i                   .••.q                            .wi      «w{       ~i        +~~t                              aa#                .-.4       -         r"!        ^"~       •^r        r-1         r-1        e~-t     +-a       --1                                  e-t         .~-~t
                                                                                                                                                                                                                                                                                                                                                                                       C"
        =3          5             1         ~_``          ~t             ~.Yi    ~           {_J           `x       ~`i         c -                  ~        c~        ~J        i~      '~            ~t         ~         t=i       ~."~      {^         .;',)                `~         i~~         r>         C}       C         !":         ~=         ..:           :J
                                                                                                                                                                                                                                                                                                                                                                           ..
               ,
               F .k                         a-~           f~• ~-~                   r~           ~°~       a~.t r~~            r•t ~                 ..~ ' ~~~          F~ r-.t            ~t t r r~                         ru        ~             r~ ~                        r~         r~a         eat         r•: na            na          r-~             a        r~          r~~
                                                                                                                                                                                           r~.. :
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      .
      '~      .^~'1               p~         r-i          ~-~            ,f,3        Y'                    k'~"~    :T.',       f...'~    '~         tI:       Cr'4     i.:°      i`tS                                                               rr~    f^.{       tri       r~*`       ~~          {w;" ,~             l.fl       +...          -                      1~'        .-~
      ~       -'                            ~`            f'*"`                     -            13.E      -~,~?    `.                     `~-        ~.~2 " -          t~'v      sy'1
                                                                                                                                                                                   v                                                       ~         -                  .e       ~                      '.~3         ..     .. .                  ...     .. ,             .b ~         ..,,
      '~      ^~             l~             C:                           ,.         t..*'                            b.r~       s~",       l'7                                             LE'I~           t'~i    £`.1      ~.^, s       ~-ti       CSt    ~-+        t`"3      11'Y         r;J. .                L'"1    R                                                          l.'"~
      ~,.                                                                                                                                                                                                                                                   --t
                                                                                                                                                                                                       r~—        ry
             Cd             f~l ~~                    t"v              f~       ~7 1"'-~                  i 1 ~~Y             ~" `       I'd        ~                 :`+d (^~                                                                                                                                     r. r~~k              a        ~ ~,         ~           .~~         ~a
             LT!            ~. L`P                    ~                C'F~     ~,J~  ,.~c                t,~~ ,~;            s~~        P1^n       ~`^~ ;11             s      4         ^J'~                                                                                                                     tT`~    i;c       fjti        t7~     '3i              +~°s        CTS
                                                                                                                                                    i•~ ', F~.J                                                   i' -f 'S"~~         t"-b       f*}       ~.,,?   s"`,j        fd      t'r3 ~ a'd                 f'..J   C'*1        ~.        ;'•7    ~                E'`-;       R3
      ~      1^-J           f'I ;  ^~                 ^J               Ste.     ~3 '~`.~                  f''~! ~^',$         f'°,J      f~.l                         fwd i"~t            f°~.2 ' t'+~
             Gh             ~:~   P~~~                r~tl             C~•f     (3~   t;~'~               ~,~t ~3'v           t~'a       ~~         C~'~ 'C~          tit ' ~             ~, °v ;~                ~."~ ~t             ice':      fT~       C'.i ',~'+           C~ ~ ~                             G3°~    ~         ~'i         ~`R     s~1              ~`+         ~v
             f~~            f~7 ' ~v'                 t^.1             f~~      ~I t'37                   t ~~ ' o,`•:        f^•J       i^+t       ^~,: '. 9'~l      t'~J '. RF          #'4. f;!                (';i ?"~I           f`d        P^e       ('~~ '. ~',3         +~`~t , hS .,^~2                   rV      r~.S      f~          ;"~-J                    r'~d        S`^l
             l'~.                                     P..              ~,       ti, 'R                    P'~.     ~...       t`^,       ;^~        ~~_     P°+       I"~ '. i'~,         1'w. ~~-                       ,•z          1-,-       r-~       ....    ~..          ~. '. ~- ; h+~..                   f"'-    P'.       (~~         ^,.     5~ ~             "^..        ~..
                            h ~. t`~..
             ~~'S           ~ r'~                     n~               r~       r"1 - ,^'3                ~^r r~°1            ~          t"~        --a t'~T          ~`"r ' ~'*'~        ~''1 ~'-'2              rv5 ~ t''-+         ~1         rYe       i`~'~   +`~'r        i"~a ~ ~^ ~ r~'1                   t~      ~*"1         l                 ~ s             rn          ~^",
      ~      ..ter                         .m                          ', r-i    wa              -~            y    ,,...a     r-i        a-+       .-f                rt       r4        ~i ~ e-t                 r        ,-t       -fi        ~4        r~-A       —1        .—F                    .r-a        ~       .~a       .-.         ..-4                     ~-r         ~
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                                                                                                  K                   _         ..         r^~               _ ,m        ~,
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                            p               ..v                        ..-:.                     ...                  r:                                                                                                                                                           ..
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           Case 2:17-cv-08726-DSF-AFM Document 1 Filed 12/04/17 Page 44 of 48 Page ID #:44
  .f                                                                                                                                                                a             ._                 ,.,,
                          ~.~. _                                                         _.        ~_                                             ~~,            ,.  ~ o _.__ ~ 4 ~.~r :._ .~. -,e_ ..r _~ ~.. ~ ~._                                                                                                                             ,~                      T~
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 ,_'        »,, -A                                                         ^~                                    -iY                    ..G> ...~               -G:        L.           -F..             .0              -L   .~.a                    t, .,~                 .w~                    b+         -a             .~-                   1            '~ f
                                                                       "`              ~          v~                                                                                                                                                                         s                     ~. t        ~ =       w    4a%            ~   i..,~        i
 ~_.~7     l.~.i ..r.~                  r                 ....,      4.~ E,r,1         !..a~     U,:             c.,_        W          tuJ ..0                 L~        C.~~    'v.r v.+               yea       ~,,           i                   i    i_,3
  -J          J  `-1                               6       ~.I       `~.2, '..:        'W.1           ,~          .?         ~          ti.; '~.~'              '°-~3     `-4     '~3 s:                 `J `J ~_ '            -.j                   `-y  ~+i                `v       '..!           1         ~,f            '- ,                 .;        J iF~
           P      '.1                ~~         f _~      I J        '~..i r•.)         ~F~        ,.c}
                                                                                                      ~           '^.,~      (J         l: ".1                  ~.J       `~      ~`.1 ~'..              f`+.1 '    ~..` ,~' ~'.1                    [    F.s                I        t'.J         &~..f      '0 ti     "~.1 ~~.i         J      f`~.!     t i
  ri       tb .    tai                          l~                                                               3nt                    n~% vi                  4~'.+     -.L~    ~~ '  ~                LlJ ~ ;          ~ tt~                      ~ "     ~                ~       .~
                                                                                                                                                                                                                                                                                      ~            ~.~+       ~             c l,~       i~           s     t t '_
                                                           ~          ~~~   f.~        Y.+       l,V                                                                                                                                                                                                                                                       P~F
   h~      f^J $},.I                            ~J        P~.~       ;V P+              F..3     <'+.,r          I"~         (°,.~      ~`J f~.F                RJ        "~.r    t~.l Imo..}'            hl fl_V ?~.: :'.3                          t`J f.~,J                F.J     2*k          Y           FyJ      ^ ' ~4i          J       Fes.
  ,~ ~.,                                                                                                          '~         'w,        tys c,~                 i~::)     CL't    cy} ' r,~j '           '.,C~ ~ 53] cS'j tCI                        ~,„~ i.,Z:              Ali      ~~ .           .'`,-    caa,.i    ~L3 ~L'~        ::.r     :a?       t.p
           ,.G. y o;i                 ~         ~..✓      l~         ~: to             ~         ~               4
  h        F.3 ~.S                   f•,t       i'+.7     f~J        ?~2 NJ             t'a~     F..°            F~~            S       ~tiE TJ                 ~'~J      f`~.f   tJ P.J                  4'ti.1 , Y~.2 {'~J t~1                     rte? I'~,3              fti.d    :v           ;~.,'       Y~J      C..'> ;-a       r•,,3    F`.~      "`3 .
                                                                                                   V                                                                        ~s                                                                         ~.                               'Y            V
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           L•~          ~J1                              ,C+         'v~,!    r~ +,L~                            `~J                                        LR           ~.Ti     Pst             S.+.A                                                           ~"r       A.Tt      C~         ~C.          f'Y't    'Ja      ~~at    :5~~               t.F'     C.•~
                                                                     .~.      ~' ~`'-                                                            ('t                                        (~..i   ~             L*J          1`..fl    ~'.1       l~ i           ..       ~~.,         -_.      ~.         ~.                 ~       ~        ~                  -~J
lI't                                rl~        L"9                                                tJ             `~F         ~         ~~                                                                                                                                    Yom"     !`^4       ~J           F`~
                        •X                               3^„~j        "h}      +. ^ham.                          R                                          ~            I~`.~    ~r              ~                                                               I4J
           t                                                         I-~      ,.1 ~S              "i             Cr          ~'is      ~fii      KT                      ~        .C.       .J '~, Q              L~7 ~
                                                                                                                                                                                                                      {                  3+,:       LJ            f~         G's      .~ ."h     v-i         ~+        .fv !„~          ~ s      ~ •'3
Cf                      ~'i                    tJl       ~~                                                                                                                                          e
7,J        i.J          hJ          :'~..~     'n.1      i`~J        ~U ~''~.'         `~J       P.3             f=.J'       3 J       F...~.!   .vi            ;~.7 t•wl I'..:             ~x.,i 1'-.F           1~I i..F               ~..i       1`..~         f~..5     '*..~     :U' (`J                Z~J       Y+J 7J           CJ       i N~J
.::7
t           :.)         i
                        t           ~          ~~        i7           C! ~              ~        ~.:a'           ,'`.:                 a°~       e~             ~: ~ [~                     ~ L~                  {~ ~,.~                Q          ~             ~         ~         ~ 'b                   ~J        r,:7 ~           iJ       s~ :.7             fL

 ,,        ~             ~,.        ~                                                  :tf       ~.n , x:                    ~:a       °t,.s     t.~r       :~           €~       e~   ~--~ ' ~r~-~ s- ~ ~-.                             ry          R--          ata       t..s      .~,~; ' -,        r-t ;.~                 h~~     €~a
                                               a-~       r-s         r-~      ~
           i                         ~                    ~                                                                             r ~~                                                     _   i t ~"'                                          c                          a                           ~ t                                       -
                                                t ~              ~   .
                                                                     ~,                      e                       `;         e       ;   e                     c`              C'-~    t          C    :- x                                _       C            a`dE         F3     s ,.        €     C7',F ~
            r             ~z;          e          .s                                                              tt~         ~s        ~'-                       =       C       ~a'     U     ~~w  C                                                i` r         C'~7                ~..f"`        ~' L.~''                                       .'
    .,           i         ~`                   . ~.                  e.i                 m       ~'               •..k                   -                     '~'                        i     ~                                                                    u                    1
                                                                                                                  :~.~                  L..-~                    .-.1                                                                                                         ..J      ~k          ~           ~.y'      ~                        ~A
                .~        S.                              1,                   '~7.                                                                                               `v~ ~~'9, '~+.                                                      ~            Y^,o
                                                 ..»                                                                         '1 'JY                                                FY                      -..J                                                    5~','        J                  C                                                         1
 ,'~~                                                                                     y'                                      tai                   t       '
                                                                                                                                                                ~y ~ 3                       9'                                                                    :5           l      ~                                                           _        I~t




              ,~,                                         < <s                                                                                                                                                                                                               ~-*        C". .
                                     iF.a      r .1                    r~                                                     -i.~       -~..     .~..          ..3:, :..r        +~                                                                  t~y          Ca.t                         ifi            C+3     ib        {.^a    LG       f:.~~     ~J      ;C
  ,.~.      3 t•.i                                        €,e.3               »         C7       ~                ~..:y                                                                      c~           e~       t`~          ~ ~•.•
                                                                                                                                                                                                                                                                                        s-. '., r,..           ~--e              N       F-~      br        1..
              j7}                    ~C`       P,X        G'7          ~.1              i.~i     ~..,a~           •_•         -C~                               ~ '. ~            i,-~       p'+          s"+                   r~ '. .a              o-           ~7        tom""                                     ~-                                           ~.,,,
              itkk                   C`,       ~3         d"3         1.~.2   r...                                                                                                 b.-~                                               ,~                                     V::                ~..0           4.~.~   itl       ^-»d    ~'J
                                     ~5
                                     5         ~'4                            L        "' ~       ".d                                                           "v~               .~
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                                               iy--                           k51      ~G         .i3                         1~.~      f~~,t     ~...          '~                f~`T
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                                                                              ~        .k :v~     w~J                         l.t.J      rJ       1.t4          i;..•A            ~-<                                                                                                                                                                                iti

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                          t ,          k,       ._: .                         !\.t      Ski       4L~                        i~          t~.y     t1                               £~.+
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           H             ;d,~                    '-       L          ~..5              '`.~      tl                          JJ        :.a}                     t..~                                     i-+      l            ~1        i ~..(      l,.!                             ~                                3~       l~        `(      i                 j
'I'r.                                                                                                                                                                                                                          i.J                                                    b.._                   w~        P~ i     f'.)
           x..1          I..~
                           )                   F ...                                   ~~                                    i         F-                        ~~                 J       ~            t~                              T ..I       ~            "~
ts't       *.i3          "!x                   =.~C~     t~          ..t.    :~                  s--•              t'..        ~       tax            ~.        .Y~       ~'t     :~!
                                                                                                                                                                                  "           *:         :.a      r            :....                 Y~^          ~...      r         ~                 s    J         to       ~.fl             ~''~~~      J      ~ '~I
           ~              F                    'J                    r-..+ F.t         fJ                                              Fti                               f'V                P~..1        ~r         -.£        C-J       C1         e'' _         i~..:     ~ .S      P-..`       F           .~         J      f~f        ~     I'~.?        J       ~ _
                                                                                                                                       ~:_.                                ~,               +~           ~        r~           e,        r ~        e;,~          ~~        rJ        +:~         F....      ,rte      i ~      ~,.~~    _s      :7        ~"'7
  vi       ti.            ~
                         ,`,n s a              =,`~      C           1 ~               C"..~     ~.              ~,          v
                                                                                                                                                                                                                               s.,.                               o-».+     a-,       r~..~                                                      !-        r-       t1-,
           ~                                    w-•      v--         s...o ,__         rte+.     ~-..            M...        ,-,c      ~.-.                     o-,+              ...M      aw            w~~     tee.                   m..        r~                                            c          3---      rr       ~--`    r-
 p.,~      fit           «..:                  F.~       e_          c-, Sj,           LYt       ..C#            -n:,        (.41      ~..ad     -.>.           :~.1     l_s      e'i       ~""           C_~S    ~                                 '
                                                                                                                                                                                                                                                    w.            '"'`                                                                                     ~'`~
                                                                                                                                                                                                                               ~-`                                                                                                               ~".. .
                                                                                                                                                                                                                                                                                        ~"-.u`                          s        .~,_
  ~ „J                    ..J         ~.~       h~.1       ~.t        I~       h...f    '.,~      P'-tJ           `'.,~      f          ~J        P,.:           t~       Pd       w.~       FU           f-~      ~,~#         ;         ~-.l           T~                                          ,~
                                                                                                                                                                                                                                                                                                                        .        ,~,
                                                                                                                                                                                                                                                                                                                                                   bJ           J       i
  r,.r         ~- ~      ;~           r ~~      !~,~      ~~.         ~~       r~.~     t~a       aa              t~~        .b         *•.~      r.~            a~--     ~--      ~~        r.~          ry       ra           ~_        rz         .<: ;~.~                 ~.        ~a~         _,: ,~             ,                 ~        °~,               , ~"~



                                                           ~+                                            i        ~'1                    ~~
                                                          „           ice.     ~'s      ti:.                                                                                       l.4       l~           l~          .~'S       4          "~:                     _.'~      L         ,.^                    C:~                                ir:
                                                                                                                                                                                                          4+W                               -.•,                      J      ~          ~                                                                            ti`
                                                                                                                                                                                                                                                                                                                  u               i1                .c
   _r';        ~....                                       -,»                                    ~.,F             ~,.d       ...e,      4-~+     ~              43'f     ....     -         .ax          :.--~       uJ         L.«.     L=          +_a           lIi      ,Je        v_.,t      ~              }     ~.       Ls:               ,.J          b        ,:
                           w           ~'T      ..,~                  ~       >.3       ~.a


                                                          u e                 ...
                                                `-~       Lek                 !"'~                                            ~;3                 '..,:~         t ~                                                                                                          4 3                   1.~~       s"Y      tr       1r      ~~            i             ~-



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                                                   J _                ~                                      _                                                                                       _                                             ~._.                          _.
                                                                                                                                                                                                                                                                              ms
                                                                                                                                                                                                                                                                               s.,                     ri      ~n?       "' at~i         t'~                              -~
                          ~~
                          .                                             --~ ? ~                   ~              ~T`: r-.                         t-+            i-+       Y'                C~ ~         C    S..F: (J'1                 [-.   ",~, +'W                      N         t,~l                    ~       tL} : L`'.       l l {;F
 ~-+ ~ t'~                                      ~.E~     ~,.~:                                                                                                                                                                                                                  .
       r-~                6al ~.4!              ~ ,.: .s.r            +- `    '
                                                                                 ~:x
                                                                                                                 "
                                                                                                                 `      !' ..-,                   "~             °,-1      t                 F-.,         p       > ~                      _..       ~as                      s-~,      t-~         s..L~      Cv       .A f~+             ,~ r--           ~--      ~
 ,.C,                     Lit ~                 ~[k r                      ~     ....e                           Y~~       -i~                    -ri.           -i~.              ._.       ~i           ~t'    _s a-                    `'~.       ~~.7                     C37       ~.=1'       }--        1=           }~-`         '
                                                                                                                                                                                                                                                                                                                                         3--    ~           ~,       ^~
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                                                                                      ,-                              a                                         1-t~;~'~~~~3?7    ~~~J~~2C15 .~,~;'? ,~. .                                               !'1~~_                                                                     C"~.>'_              ~f_-                 ~E~'t~l~~ i~.~~~¢{5?~wt~31 ,                      t ~~I.i:C1'         ~`~::~.I.~          '~,i~!
                                                                                      '~`.`, .,                           ,.          ~             ~ ~,: 1 1.-~..t7~s;'?''.'.7                                      +,.,.. .- .. .   ...                +3.'~iJt                          tiljl~                  A,1 P   ?;       `~v3f?i..i'                                 ~lE;l~?.1~~~=t~
                                                                                                                                                                                                                                                                                                                                                                                             '  ~~:.~1 ;                       ~~,.:~.U'.~          ~.a~,'i`#          <t`~.~"
                                                                                                                                                                                             ~'7u1?~1~.
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                                                                                                ,'$ l               ~ i               ~    „
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                                                                                                ..                                                    ~; Iwi:~71J~`~?'                           ? ~        lL',~.                     .. „ : `,~9~3:1~i                                       ~(z~.,~~~t~;3               .._,     1(J .I^~~~t'          ~~;~            ~ "?~+~~3 1..~~~SJ~a"">1~                            ~`~~~J.I;~9,         `;~~.b?            ;~~:?.1.1
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                                                                                  ,        `. ,'~'. -                                  ~            , '~' ~                                                  ~ ,r~.'                       l             ~1-;. . '~
                                                                                                                                                                 ~qf_T?~a_"t;,j.~r~                           ~                        t i::                                                   ~ernli`~ ''j ~s             ~_       ~~~~r?i_}~           '~~                         v,
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                                                                                                                                                                           y                                                                                                                                                                                              ;.                           ~1~
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                                                                                                                                                                 E'a.~,~?J''~'~               `~Jr~sil?I~1 s} ~.           ,. . s ',                     .?1~.~~                                                                    t._~~.,}             l~?~.                  Eiif~ll'~'T"~JI                                i~~,f.~1;
                                                                                                                                                                                                                                                                                 _
                                                                                                      _ `.t ~                              ',                    I-,~;'~<~'~Z1', ~,dl~t~~1~ ~ `.a_                                                       :~ii~~                                d .l~ ~.t: ~                         `.~a'._                                      -
                                                                                                                                                                                                                                                                                                                                                                                i~1C~1 T.".t~'#a~fi7i: 1'                      I~1,~:~J,            5~.~3               •: _c~I
                                                                                                                                                                                                                                                                                                                                                                 _              ~       ,~ _                 ~r~~ S               -s~
                                                                                                                                                                 ~.,     7;3 L'~;tx~j:~                                                                               F           ~            ~,:.~          ~~~          ~Sr      ~, ~        3~                                                    ~f,                                           3~ ~.~
                                                                                      ';'                  i       . .°~"6, ~"~            ~~ .'_~,                                          ;.-gip !. ~,l {~1 ~ ~ ~.~' ~               r ~               ~i~_~                                                                                                                                                                                                         -s~."~i
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                                                                                  ~i                                      .,           ~ ~'                             --~
                                                                                                                                                                 I~~,~~~:~''7                 fi,~~~t,i~Ulz               k.. «~. ~_.                    ~ ~~                                                              '~'      ~3~~'~Ct~                                   W'33~} 15~k~~,<<~3~~                           %~~.~~4`#~' ~~~t~~63~                  !~?~#= t,.:;
                                                                                                                                                                                                                                                                                   11r` ~~f~~?~I
                                                                                                                                        f: ~                    1_~„~~~~~7 s7~'4ifE'~:il ~„~z,£~~Y <~~ r~~ +~                                                             'titt~~, li~'' :.`t'!ii                          :'~      ~ .p~.,.              ~;~3                  ~~3011~~~~5~''J~~1'                          ~;~L,~C~', 1~;~~,~a_~ 1?~~?.~;'
                                                                                                                                                                    ~~ ~     _       __ _                                                                                                                                                                  ~~                                     6
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                                                                                                  ~~ ~~ ~ .                           ~ ~.~~~_                  1~r~ ~~~~~,~ ifl~~,f~E'~1-~ ~_,~ r_ ~_ ., ~a~~~~                                                                           1?~v?, ~~i1,                    ~~       ~`ir. 4'             +at~                   ~~~31,i ~~.~~~~~?1                             ~~b.~~~               ~a.?'~             ~~7.~
                                                                                       ~ __ r                       -_ t          ~ 1~?~?~~w~~~~ ~r`1,~~t~SS ~~ ay, .. ,''=`r ~7'~{a                                                                                                           ~~~ ~~yr                    ~'%'     ~~~.~                                       i,~~.=1~~~~?5?C~31~                            ~:~ii.~;~i 1Z~.a~                        ~3~.~7
                                                                                                _. ~                         ~~ ~~ 1~~3~'~~~:~~?~ G,'~~;'E71~'          '~~`. '?7~~                                                                                                            c~,,̀a.l.,',_~:~~E;; _''             <_~a~1~                                     17~t~ ?15=~'~S;TG~J1                           ~~3.CJ' .l~.st~                          ~-+"_~.~;3
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                                                                                          + r             i'
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                                                                                                                     ~_                                          ~~~ ~._:I...~,t.~.             ~~~~v~~:s                  _                 ~..'._
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                                                                                                                                                                         ~ h.ti`~`~~                                _~~~~                        ~?t ~       G~;~' ~ ~(~aa L~~.~ ~ 3' ._ ~ ,~~,_ .~ ~ ~~' . i : -~t r~ ~ ~ E~'r~~ ~f. ~ ~~`=?~ f~d~~      ~i[[~d i.~1`~C ,'~1 ',^£C~ r~~?~= n~~~Efi.
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                                                                                            ..-. i,`' ,~                                                  ~`iJf~Sti~tj.~          .,     C~ ~~
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                                                                                                                                                                                               e'7~~.1 . ,. ; ~{'W_,~_# }                         ~J`~~      '
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                                                                                                                                                                  r `~U'7~ ~~;                                  ~                 ~              ~t                                                                     c                                                  ~                 c                                      r
                                                                                        - -, .~ ~                  ,: ,           i,   .-                 ~.}f?.                             €_ _ ';~                                                                            ~~(~',f ~~.7_`
                                                                                          -.                                                                    ~f_~i~~~~, '-~,~ ~"~T~4~)~`~                                                ..   ?i'+~43                                           ~~...    '~)f. ~.t`E                                              ?ii~~ ~~~
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                                                                                            ~_~               ~ -                      J.         ~                  "~i "
                                                                                                                                                          ~`t sr~ ~~~~ r                                       ~~ ~_ ~                      ~, ~r~~i~                       t~~~~~,~ _             ~.~      ca3~~ .~:           r .~.                                ~~ ~ 1~'~~F~~~~                           ~~ ,              `~ ~.~~.~~            ~5.~~
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                                                                                        a                      -              ~         ~                 3. °t )/ '~'ig r'a ~3~.       s~~E~~{dl,~.k ~'        `, i~                 <<se       1 ;~T'y7                   a'                     ~~       ~ ~_.. '~                                                 :{~J..d ~~..3 ~'1~.l Rd :7_I             ~i.~~~CJ~            J~.1:~~            E'kf,~.l
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                                                                                                                                                                                                                                                      t 9t        1f^~            ~'                                                                                   f        t        i       7    q              (~~y~y                             t,t
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                                                                                                                                                                                        ~i ~,fj'~._7t'~                  -                                                  _ .f ..~.~ ~ .r.r                                                                                   .f t. ,~
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                                                                                      ;, . ... . _.                                            1~~~«'~~:~~'~' ?~',`~`~1!?~~1~ `''                                        `.a              .,r C~I1'!?                                                       c~r~?? ~                                             t~i1;`~ 1~~`1`kS,~G~~1:
                                                                                                                                                                                                                                                                           I.`lt)+:C.`,4~ ,~h                                                                                                                  '..~'.~J~'            ~~}.~i~'          `~a.~_`
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                                                                                                                                                   i,~.~t~~ ~ ' ~r`~'~'fl2'                                              - . F "'.`' ~`L~i~~ '                              !;~?:1 %4'~:i                                                                            t~i{:~~`i ! ~ r.~~~'~r?~].E                5~~7.~'l".~        l~~.~~             l r i.`~'~~
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